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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


 BROCK STONE, et al.,
                   Plaintiffs,

        vs.
                                                  Case No. 1:17-cv-02459-GLR
 DONALD J. TRUMP, et al.,

                       Defendants.


          PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiffs respectfully submit the attached order issued on September 18, 2018, in

Stockman v. Trump, No. EDCV 17-01799-JGB (C.D. Cal.), ECF No. 124 (“Stockman Order”), in

further support of Plaintiffs’ Opposition to Defendants’ Motion to Dissolve the Preliminary

Injunction, ECF 139; Plaintiffs’ Opposition to Defendants’ Motion to Dismiss or for Summary

Judgment, ECF 163-2; Plaintiffs’ Opposition to Defendants’ Motion to Stay Compliance with

the Magistrate Judge’s Memorandum Opinion and Order, ECF 211; and Plaintiffs’ Response to

Defendants’ Objections to the Magistrate Judge’s Memorandum Opinion and Order, ECF 216.

Like this case, the Stockman case involves a constitutional challenge to President Trump’s ban

on military service by transgender persons.

       The Stockman Order addresses several of the issues pending before this Court in the

above-mentioned motions. First, the Stockman Order found that President Trump’s March 23,

2018 memorandum and the accompanying February 22, 2018 memorandum from Secretary

Mattis (together, the “Implementation Plan”) do not moot a challenge to President Trump’s

August 25, 2017 memorandum (the “Transgender Military Service Ban,” or “the Ban”).

Stockman Order at 7–9. In making this finding, the Stockman court rejected a key argument
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Defendants rely on here in their Motion to Dissolve the Preliminary Injunction and Motion to

Dismiss or for Summary Judgment. See ECF 120 at 9–11; ECF 158 at 21–23. Relying on

Supreme Court precedent, the Stockman Order noted that it does not “matter that the new

ordinance differs in certain respects from the old one,” so long as “it disadvantages [plaintiffs] in

the same fundamental way.” Stockman Order at 8 (quoting Ne. Fla. Chapter of Associated Gen.

Contractors of Am. v. City of Jacksonville, 508 U.S. 656, 669 (1993) (emphasis removed)). The

Stockman court found that “the controversy presented by the new policy is substantively the

same as the controversy presented by the old policy,” that is, under both the Ban and the

Implementation Plan, “[t]ransgender individuals will be disadvantaged ‘in the same fundamental

way.’” Id. at 9 (quoting City of Jacksonville, 508 U.S. at 669). The court therefore determined

that Defendants’ challenged conduct in connection with the Ban continued in the Implementation

Plan, rejecting Defendants’ mootness argument in that case.

       Second, the Stockman court joined the court in Karnoski v. Trump, 2018 WL 1784464

(W.D. Wash. Apr. 13, 2018), in rejecting Defendants’ oft-repeated argument that the

Implementation Plan does not discriminate based on transgender identity. Stockman Order at 9.

After analyzing the Implementation Plan’s various rules and exceptions, the Stockman court

determined that it was “clear that a diagnosis of gender dysphoria is neither necessary nor

sufficient to be excluded from the military.” Id. at 8. Instead, “[w]hat is both necessary and

sufficient to be excluded, irrespective of a diagnosis of gender dysphoria, is a person serving

consistent with their transgender identity.” Id. at 8–9 (emphasis added). The court concluded that

“the policy aims to eliminate a person’s transness, and nothing else.” Id. at 9.

       Third, the court determined that the Implementation Plan is not entitled to deference

merely because it involves a military policy. The court concluded that the Panel of Experts’



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study accompanying the Implementation Plan simply “attempts to rationalize a decision made on

July 26, 2017,” the date of President Trump’s Twitter announcement banning all transgender

military service, and held that “[i]t will not do to hypothesize or invent governmental purposes

for gender classifications post hoc in response to litigation.” Stockman Order at 11 (quoting

Sessions v. Morales-Santana, 137 S. Ct. 1678, 1696 (2017)).1

       Fourth, the court in Stockman rejected each of the justifications Defendants in this case

put forth for the Implementation Plan in their Motion to Dissolve the Preliminary Injunction,

ECF 120 at 18–28, and Motion to Dismiss or Summary Judgment, ECF 158 at 28–41. The court

first held that the policy should be analyzed under intermediate scrutiny, Stockman Order at 11,

consistent with this Court’s decision, ECF 85 at 43. Next, the Stockman court found that

concerns about “military readiness” were not substantially related to the effect of the policy,

because the policy would ban individuals who have not undergone gender transition surgery,

despite the fact that those individuals would not be subject to the concerns about deployability

Defendants allege accompany gender transition. Stockman Order at 12. The court also concluded

that “unit cohesion” is not a legitimate justification for the policy, because the assertion of “‘loss

of unit cohesion’ ha[d] been consistently weaponized against open service by a new minority

group,’” and, “[y]et, at every turn, this assertion ha[d] been overcome by the military’s steadfast

ability to integrate these individuals into effective members of our armed forces.” Id. at 13.

Finally, the court correctly noted that, under Supreme Court precedent, even significant concerns




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 The conclusion in the Stockman Order that the Panel of Experts’ study simply rationalized a
previously made decision supports the Magistrate Judge’s finding in this case that the Panel of
Experts would not have existed but for President Trump’s initial decision to ban transgender
persons from all military service, ECF 204 at 6–7, a finding Defendants here label “clearly
erroneous,” ECF 209 at 24–26.

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of cost and administration cannot survive intermediate scrutiny. Id. at 11 (citing Frontiero v.

Richardson, 411 U.S. 677, 688–91 (1973)). These conclusions apply equally to this case.




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                                           Respectfully submitted,
Dated: September 20, 2018
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on September 20, 2018, a copy of the foregoing and its exhibits

were served on Defendants via CM/ECF. In addition, a courtesy copy was mailed to the

Chambers of Judge Russell.

                                                    /s/ Peter J. Komorowski
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